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 6
   Attorneys for Plaintiff
 7 United States of America

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                               CASE NO. 2:14-CR-0083 GEB
12                                 Plaintiff,
                                                             STIPULATION AND [PROPOSED]
13                       v.                                  PROTECTIVE ORDER BETWEEN
                                                             THE UNITED STATES AND
14                                                           ALEKSANDR MASLOV
     ALEKSANDR MASLOV,
15
                                   Defendant.
16

17
                                                STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant
19
     ALEKSANDR MASLOV, by and through his new counsel of record, hereby stipulate as follows:
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            1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of
21
     Criminal Procedure, and its general supervisory authority.
22
            2.      This Stipulation and Order pertains to all discovery provided to or made available to
23
     Defense Counsel as part of discovery in this case (hereafter, collectively known as “the discovery”).
24
            3.      Defense counsel shall not disclose any of the discovery to any person other than their
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     respective defendant/client, witnesses that they are interviewing or preparing for trial, or attorneys,
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     law clerks, paralegals, secretaries, experts, and investigators involved in the representation of the
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     defendant in connection to this criminal case.
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                                                         1
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 1          4.      The discovery and information therein may only be used in connection with the

 2 litigation of this case and for no other purpose. The discovery is now and will forever remain the

 3 property of the United States Government. Defense counsel will return the discovery or certify that

 4 it has been shredded at the conclusion of the case and defense counsel’s document retention

 5 obligations.

 6          5.      In the event that the defendant obtains substitute counsel, undersigned defense

 7 counsel agrees to withhold the discovery from new counsel unless and until substituted counsel

 8 agrees to be bound by this Order.

 9          6.      Defense counsel will store the discovery in a secure place and will use reasonable

10 care to ensure that it is not disclosed to third persons in violation of this agreement.

11          7.      If defense counsel makes, or causes to be made, any further copies of any of the

12 discovery, defense counsel will inscribe the following notation on each copy: “U.S. Government

13 Property; May Not Be Used Without U.S. Government Permission.”

14          8.      If defense counsel releases custody of any of the discovery, or authorized copies

15 thereof, to any person described in paragraph three, defense counsel shall provide such recipients

16 with copies of this Order and advise that person that the discovery is the property of the United

17 States Government, that the discovery and information therein may only be used in connection with

18 the litigation of this case and for no other purpose, and that an unauthorized use of the discovery

19 may constitute a violation of law and/or contempt of court.

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 1         9.     Defense counsel shall be responsible for advising his or her respective defendant,

 2 employees and other members of the defense team, and defense witnesses of the contents of this

 3 Stipulation/Order.

 4 IT IS SO STIPULATED.

 5
     DATED:       August 9, 2019
 6

 7                                      /s/ Matthew M. Yelovich___________________
                                        MICHAEL D. ANDERSON
 8                                      MATTHEW M. YELOVICH
                                        Assistant United States Attorneys
 9

10 DATED:         August 9, 2019
11
                                        /s/ David Marshall Garland_____
12                                      DAVID MARSHALL GARLAND
                                        Counsel for Defendant
13

14

15                                              ORDER
16

17         IT IS SO FOUND AND ORDERED.
18 DATED: August 12, 2019.

19
                                        ______________________________________________
20                                      THE HONORABLE EDMUND F. BRENNAN
                                        UNITED STATES MAGISTRATE JUDGE
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       Stipulation and [Proposed] Protective
       Order 2:14-CR-083
